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 1   J. Stephen Roberts, Jr.
     Federal Defenders of Eastern Washington and Idaho
 2
     10 N. Post St., Ste. 700
 3   Spokane, Washington 99201
     (509) 624-7606
 4
     Attorneys for Bruce J. Larson
 5

 6                            UNITED STATES DISTRICT COURT
                                    DISTRICT OF IDAHO
 7
                                The Hon. Raymond E. Patricco, Jr.
 8
     United States of America,                             No. 2:19-cr-00244-DCN
 9
                          Plaintiff,                       Motion to Modify Conditions of
10
            v.                                             Release
11
     Bruce J. Larson,
12
                          Defendant.
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14               Defendant Bruce J. Larson (“Mr. Larson”) moves the Magistrate Court to modify

15   his conditions of release while pending revocation of probation. For the reasons that
16   follow, Mr. Larson requests modification of Condition No. 6 – that he be permitted to
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     reside at his own residence in Priest River, Idaho, instead of the current court-approved
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     residence (his mother’s address). 1 The U.S. Probation Office has no objection to the
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     proposed modification (as long as Mr. Larson’s mother resides with him in Priest River).
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21   The Government respectfully defers to Probation and the Court.

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     1   See Order Setting Conditions of Release, ECF No. 15 at 2.
                                   Motion to Modify Conditions of Release - 1
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 1         On May 31, 2017, Mr. Larson was sentenced to a 5-year term of probation, after his
 2
     guilty plea to one count of DUI (assimilated crime) in the Northern District of California.
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     See Amended Judgment, ECF No. 1-3. His probation was transferred to the District of
 4
     Idaho on August 1, 2019. ECF No. 1. The U.S. Probation Office filed an Amended
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     Petition on Probation alleging four (4) violations of Mr. Larson’s probation on March 4,
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 7   2022. ECF No. 6. Mr. Larson made his initial appearance and was released on March 8,

 8   2022. ECF Nos. 10, 15. As part of his release conditions, Mr. Larson was ordered to
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     reside with his mother (Jeannette Sweet) in Sagle, Idaho. At that time, he was newly
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     sober and dealing with not only a relapse, but also new criminal charges. A Probation
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     Revocation hearing was initially set for April 13, 2022, however, upon motion by defense
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     counsel that date was extended to August 2, 2022 at 11:00 a.m. in Coeur d’Alene, Idaho.
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14   See ECF Nos. 10, 17, 19.

15         Since his release on conditions (that included GPS monitoring, Substance Abuse
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     Evaluation/Treatment, and random U/A’s), Mr. Larson remains in complete compliance
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     with all conditions of his release and previously-imposed conditions of probation. On May
18
     4, 2022, he resolved his pending criminal violations in Bonner County District Court. Mr.
19
     Larson has already paid his criminal fines ($925 associated with DUI and Open Container
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21   charge), had an ignition interlock installed, completed a substance abuse evaluation

22   through Tamarack, and been attending both treatment and self-help meetings – all in
23
     Sandpoint, Idaho.
24

                             Motion to Modify Conditions of Release - 2
             Case 2:19-cr-00244-DCN Document 20 Filed 05/31/22 Page 3 of 5


 1         Mr. Larson is now stable and requests release back to his home: 1600 Curtis Creek
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     Rd., Priest River, ID 83856. This modification is requested for two reasons. First, Mr.
 3
     Larson currently resides in Sagle with him mother at a retirement community. This
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     residence was meant to be temporary – and Mr. Larson did not anticipate residing there
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     until August 2022. Second, Mr. Larson’s home in Priest River (where he has been absent
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 7   for three months), requires much needed attention to the property and house – which is

 8   being renovated by Mr. Larson.
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           Senior U.S. Probation Officer Lee Pierantoni was contacted in regard to the
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     proposed modification. Officer Pierantoni requested that Ms. Sweet (Mr. Larson’s
11
     mother) reside with him at the residence until the August hearing. Ms. Sweet has agreed
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     to do so and sent undersigned counsel an email verifying that she is able to transition with
13

14   him to Priest River and monitor and assist her son until the August hearing. Given that

15   Ms. Sweet has agreed to the Officer Pierantoni’s request – the U.S. Probation Office now
16
     has no objection to the modification.
17
           Assistant U.S. Attorney Traci Whelan was contacted in regard to the motion.
18
     AUSA Whelan defers to the Court and Probation and does not oppose the motion.
19
           For the reasons that follow, Mr. Larson asks the Court to grant the motion and find
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21   good cause exists to modify Condition No. 6, and allow him to return home to address

22   above in Priest River, Idaho, while his revocation hearing remains pending.
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                             Motion to Modify Conditions of Release - 3
           Case 2:19-cr-00244-DCN Document 20 Filed 05/31/22 Page 4 of 5


 1   Dated: May 31, 2022
 2
                                             Respectfully Submitted,
 3
                                             /s/ J. Stephen Roberts, Jr.
 4                                           J. Stephen Roberts, Jr., WA 45825
                                             Attorneys for Bruce J. Larson
 5                                           Federal Defenders of
                                             Eastern Washington and Idaho
 6
                                             10 N. Post St., Ste. 700
 7                                           Spokane, Washington 99201
                                             (509) 624-7606
 8                                           (509) 747-3539
                                             Email: Steve_Roberts@fd.org
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                           Motion to Modify Conditions of Release - 4
             Case 2:19-cr-00244-DCN Document 20 Filed 05/31/22 Page 5 of 5


 1                             CERTIFICATE OF SERVICE
 2        I hereby certify that on May 31, 2022, I electronically filed the foregoing with the
 3
     Clerk of the Court using the CM/ECF System which will send notification of such
 4
     filing to the following: Traci J. Whelan, Assistant United States Attorney.
 5
                                               /s/ J. Stephen Roberts, Jr.
 6                                             J. Stephen Roberts, Jr., WA 45825
                                               Attorneys for Bruce J. Larson
 7
                                               Federal Defenders of
 8                                             Eastern Washington and Idaho
                                               10 N. Post St., Ste. 700
 9                                             Spokane, Washington 99201
                                               (509) 624-7606
10
                                               (509) 747-3539
11                                             Email: Steve_Roberts@fd.org

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                             Motion to Modify Conditions of Release - 5
